        Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 1 of 8



                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

KASSONDRA JONES, on behalf of         )
herself and those similarly situated, )
                                      )
             Plaintiff,               )         Civil Action No. 1:17-CV-01304-ELR
                                      )
v.                                    )
                                      )
ANTICA POSTA RISTORANTE,              )
INC., and MARCO BETTI,                )
                                      )
             Defendants.              )


        JOINT MOTION TO APPROVE SETTLEMENT AGREEMENT


      Plaintiff Kassondra Jones, and putative opt-in claimant, Shawntha (Lisa)

Cuylar, and Defendants Antica Posta Ristorante Inc. and Marco Betti (collectively

“Defendants”) (Plaintiff and Defendants collectively referred to as “the Parties”),

jointly request that the Court approve the Parties’ settlement of Plaintiff’s claims

in this matter. Because this single Plaintiff case is brought pursuant to the Fair

Labor Standard Act (“FLSA”), the Parties’ settlement agreement must be

approved by this Court and said approval must be entered as a stipulated final

judgment. As three claimants have filed papers to opt-in to the claim, these three

claimants will file dismissals as well.



                                          -1-
           Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 2 of 8



      I.       Legal Principles

      Pursuant to the case law applicable to settlement of FLSA claims, there are

two ways in which claims under the FLSA can be settled and released by

employees. First, section 216(c) of the FLSA allows employees to settle and waive

their claims under the FLSA if the payment of unpaid wages by the employer to

the employee is supervised by the Secretary of Labor. See 29 U.S.C. 216(c); Lynn’s

Food Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). Second, in

the context of a private lawsuit brought by an employee against an employer

under section 16(b) of the FLSA, an employee may settle and release FLSA claims

against an employer if the parties present the district court with a proposed

settlement and the district court enters a stipulated judgment approving the

fairness of the settlement. Id.; see also Sculte, Inc. v. Gandi, 328 U.S. 108 (1946);

Jarrad v. Southeastern Shipbuilding Corp., 163 F.2d 960, 961 (5th Cir. 1947). In

detailing the circumstances justifying court approval of an FLSA settlement in a

litigation context, the Eleventh Circuit has stated as follows:

      Settlements may be permissible in the context of a suit brought by
      employees under the FLSA for back wages because initiation of the
      action by the employees provides some assurance of an adversarial
      context. The employees are likely to be represented by an attorney
      who can protect their rights under the statute. Thus, when the
      parties submit a settlement to the court for approval, the settlement
      is more likely to reflect a reasonable compromise of disputed issues
      than a mere waiver of statutory rights brought by an employer’s


                                         -2-
        Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 3 of 8



      overreaching. If a settlement in an employee FLSA suit does reflect a
      reasonable compromise over issues, such as FLSA coverage or
      computation of back wages that are actually in dispute, we allow the
      District Court to approve the settlement in order to promote the
      policy of encouraging settlement of litigation.

Lynn’s Food Stores, 679 F.2d at 1354.

      In the instant action it is appropriate for the Court to approve the Parties’

settlement agreement to resolve and release the named Plaintiff’s FLSA claims

against Defendants, as well as the claim of opt-in claimant Cuylar. The two

remaining opt-in claimants, Randolph Cobb and Karen Scott Yetunde, have

agreed to file a dismissal without prejudice. Plaintiff and all the opt-in claimants

are former employees of Defendants who were employed by Defendants for

anywhere from approximately 3 to 6 months. The proposed settlement arises out

of an action brought by the named Plaintiff against her former employers, which

was adversarial in nature. During the litigation and settlement of this action,

Plaintiff and all the opt-in claimants were represented by experienced counsel

with expertise in the area of wage and hour law. The Parties agree that the

instant action involves disputed issues regarding the payment of wages for

tipped employees under the FLSA. Plaintiffs contend the Defendants failed to

properly pay them $2.13 per hour for all hours worked. Defendants contend and

have provided documentation to Plaintiff’s counsel demonstrating the payments



                                        -3-
        Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 4 of 8



sought by Plaintiff and the opt-in claimants were made by Defendant. Plaintiff

and opt-in claimant Cuylar now agree that at most, only nominal damages are

due from Defendants and they are being compensated in excess of any sums due.

      II.    Summary of the Settlement

      Relying on Defendants’ records, the Parties have reached a proposed

settlement that provides Plaintiff and opt-in claimant Cuylar with monies in

excess of their full unpaid wages and/or liquidated damages and/or interest in

amounts ranging from $300 to $500 each. Pursuant to the proposed settlement,

Plaintiff’s counsel will receive no attorney’s fees.

      Although the Plaintiff and opt-in claimants are agreeing that they will keep

the settlement terms to themselves, the Parties are not asking that this settlement

be confidential. The Agreements executed by the named Plaintiff and opt-in

claimant Cuylar are attached.

      III.   Conclusion

      The Parties jointly and respectfully request that this Court approve the

settlement agreement of the Parties, and dismiss Plaintiff’s and opt-in claimant

Cuylar’s FLSA claims with prejudice.        A proposed Order granting the relief

requested herein is attached to this Motion as Exhibit “A” hereto. Within 5

business days of entry of this Order, Plaintiff and opt-in claimant Cuylar, by their

attorney, will file a dismissal with prejudice. The remaining opt-in claimants, by

their attorney, will file a dismissal of their claims without prejudice.

                                         -4-
        Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 5 of 8




      Respectfully submitted, this 12th day of October, 2017.


/s/ C. Ryan Morgan                           /s/ Debra Schwartz
C. Ryan Morgan                               Debra Schwartz
Georgia No. Bar No.711884                    Georgia Bar No. 631035
Morgan & Morgan, P.A.                        James E. Rollins, Jr.
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P.O. Box 4979                                Schwartz Rollins LLC
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Attorneys for Plaintiff                      des@gaemploymentlawyers.com
                                             Attorneys for Defendants




                                       -5-
        Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 6 of 8



                                   Attachment A

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

KASSONDRA JONES, on behalf of         )
herself and those similarly situated, )
                                      )
             Plaintiff,               )         Civil Action No. 1:17-CV-01304-ELR
                                      )
v.                                    )
                                      )
ANTICA POSTA RISTORANTE,              )
INC., and MARCO BETTI,                )
                                      )
             Defendants.              )

                      ORDER APPROVING SETTLEMENT

      THIS MATTER is before the Court upon the parties' Joint Motion to

Approve Settlement Agreement. The Court having reviewed the Motion and

being fully advised in the premises, it is hereby

      ORDERED AND ADJUDGED as follows:

1.    The Joint Motion to Approve Settlement Agreement is GRANTED.

2.    The Court finds that the agreed-upon terms and conditions of settlement of

this litigation arising under the Fair Labor Standards Act, as set forth in the

Settlement Agreement, are fair and reasonable under the circumstances, and the

Settlement Agreement is hereby APPROVED.

3.    Plaintiff and putative opt-in claimant Cuylar’s claims are hereby

DISMISSED with prejudice, with each party to bear its own costs and fees.

                                          -6-
        Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 7 of 8



4.    Within 5 business days of this Order, the remaining opt-in claimants, by

their attorney, will file a dismissal without prejudice.

      DONE AND ORDERED this ___ day of October, 2017.



                                 _______________________________
                                 The Honorable Eleanor L. Ross
                                 U.S. District Court Judge
                                 Northern District of Georgia
                                 Atlanta Division




                                         -7-
        Case 1:17-cv-01304-ELR Document 18 Filed 10/12/17 Page 8 of 8



                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing Joint Motion to

Approve Settlement Agreement with the Clerk of Court using the CM/ECF

system which will automatically send email notification of such filing to:

                                C. Ryan Morgan
                             Morgan & Morgan, P.A.
                          20 N. Orange Ave., 14th Floor
                             Orlando, FL 32802-4979
                          RMorgan@forthepeople.com

                                        -and-

                                 J. Stephen Mixon
                            MILLAR & MIXON, LLC
                             1691 Phoenix Boulevard
                                      Suite 150
                              Atlanta, Georgia 30349
                              steve@mixon-law.com

      This 12th day of October, 2017.


                                                   /s/ Debra Schwartz
                                                   Debra Schwartz
                                                   Georgia No. Bar No. 631035


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                                        -8-
